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UN|TED STATES DlSTRlCT COURT Pri°rify ___
Js-s cENTRAL DlSTRlCT oF cALlFoRNlA §:;‘:r __
Closed m
CiV|L MlNUTES - GENERAL Js-5/Js-6
Scan On|y _____
CASE NO.: ED CV16-01675 SJO (SPx) DATE: 00tober 26, 2016
TiTLE: Gina L. Crummitt v. First Financial investment Fund V. LLC et al

 

PRESENT: THE HONORABLE S. JAMES OTERO, UN|TED STATES DlSTRlCT JUDGE

Victor Cruz Not Present

Courtroom Cierk Court Reporter

COUNSEL PRESENT FOR PLA|NT|FF(S): CGUNSEL PRESENT FOR DEFENDANT(S):
Not Present Not Present

PROCEED|NGS: |N CHAN|BERS

The Court is in receipt of the Joint i\/iotion for Dismissa| of Action with Predjudice ti|ed by Piaintiff
[ECF # 20]. Accordingiy, the Court Orders this matter dismissed pursuant to the Joint |V|otion for
Dismissai of Action.

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